Filed 03/21/14                                    Case 13-02001                                Doc 59


                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF CALIFORNIA
                                          CIVIL MINUTES


    Adversary Title :        Andre et al v. Thorne                Case No : 12−35545 − C − 7
                                                                  Adv No : 13−02001 − C
                                                                  Date :    3/21/14
                                                                  Time :    10:00

    Matter :                 Trial − [1] − (62 (Dischargeability − 523(a)(2),
                             false pretenses, false representation, actual
                             fraud)),(67 (Dischargeability − 523(a)(4),
                             fraud as fiduciary, embezzlement,
                             larceny)),(68 (Dischargeability − 523(a)(6),
                             willful and malicious injury)) : Complaint
                             13−02001 by Shirley Andre, Joseph Andre
                             against Kenneth Robert Thorne. $293 Fee
                             Not Paid (ltas)

    Judge :                  Christopher M. Klein
    Courtroom Deputy :       Danielle Hendricks
    Reporter :               Diamond Reporters
    Department :             C

    APPEARANCES for :
    Movant(s) :
                Plaintiff's Attorney − Summer D. Haro
    Respondent(s) :
                Defendant's Attorney − Kenrick Young




    TRIAL was :
    Findings of fact/conclusions of law stated orally on record
    Judgment for plaintiff


    ORDER TO BE PREPARED BY :              Chambers
